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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                              150 California Street, 15th Floor, San Francisco, CA 94111

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF ELSPETH D. PAUL IN
SUPPORT OF PACHULSKI STANG ZIEHL & JONES LLP’S FIRST INTERIM APPLICATION FOR ALLOWANCE AND
PAYMENT OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD SEPTEMBER
1, 2018 – DECEMBER 31, 2018 will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 1, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) __________, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 1, 2019, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                          VIA FedEx OVERNIGHT DELIVERY
 Honorable Ernest M. Robles                               United States Trustee
 U.S. Bankruptcy Court                                    Hatty K Yip
 255 E. Temple Street, Suite 1560 / Courtroom 1568        Office of the UST/DOJ
 Los Angeles, CA 90012                                    915 Wilshire Blvd., Suite 1850
                                                          Los Angeles CA 90017
                                                                     Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  April 1, 2019        Patricia Jeffries                                                         /s/ Patricia Jeffries
  Date                          Printed Name                                                     Signature




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1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Melinda Alonzo     ml7829@att.com                                             Shirley Cho     scho@pszjlaw.com 
        Robert N Amkraut     ramkraut@foxrothschild.com                               Jacquelyn H Choi     jchoi@swesq.com 
        Kyra E Andrassy     kandrassy@swelawfirm.com,                                 Shawn M Christianson     cmcintire@buchalter.com, 
         lgarrett@swelawfirm.com;gcruz@swelawfirm.com;                                  schristianson@buchalter.com 
         jchung@swelawfirm.com                                                         Kevin Collins     kevin.collins@btlaw.com, 
        Simon Aron     saron@wrslawyers.com                                            Kathleen.lytle@btlaw.com 
        Lauren T Attard     lattard@bakerlaw.com,                                     David N Crapo     dcrapo@gibbonslaw.com, 
         abalian@bakerlaw.com                                                           elrosen@gibbonslaw.com 
        Allison R Axenrod     allison@claimsrecoveryllc.com                           Mariam Danielyan     md@danielyanlawoffice.com, 
        Keith Patrick                                                                  danielyan.mar@gmail.com 
         Banner     kbanner@greenbergglusker.com,                                      Brian L 
         sharper@greenbergglusker.com;calendar@greenb                                   Davidoff     bdavidoff@greenbergglusker.com, 
         ergglusker.com                                                                 calendar@greenbergglusker.com;jking@greenberg
        Cristina E                                                                     glusker.com 
         Bautista     cristina.bautista@kattenlaw.com,                                 Aaron Davis     aaron.davis@bryancave.com, 
         ecf.lax.docket@kattenlaw.com                                                   kat.flaherty@bryancave.com 
        James Cornell Behrens     jbehrens@milbank.com,                               Anthony Dutra     adutra@hansonbridgett.com 
         gbray@milbank.com;mshinderman@milbank.com;                                    Kevin M Eckhardt     keckhardt@huntonak.com, 
         hmaghakian@milbank.com;dodonnell@milbank.co                                    keckhardt@hunton.com 
         m;jbrewster@milbank.com;JWeber@milbank.com                                    Andy J Epstein     taxcpaesq@gmail.com 
        Ron Bender     rb@lnbyb.com                                                   Christine R 
        Bruce Bennett     bbennett@jonesday.com                                        Etheridge     christine.etheridge@ikonfin.com 
        Peter J                                                                       M Douglas 
         Benvenutti     pbenvenutti@kellerbenvenutti.com,                               Flahaut     flahaut.douglas@arentfox.com 
         pjbenven74@yahoo.com                                                          Michael G Fletcher     mfletcher@frandzel.com, 
        Elizabeth Berke‐Dreyfuss     edreyfuss@wendel.com                              sking@frandzel.com 
        Steven M Berman     sberman@slk‐law.com                                       Joseph D Frank     jfrank@fgllp.com, 
        Alicia K Berry     Alicia.Berry@doj.ca.gov                                     mmatlock@fgllp.com;csmith@fgllp.com;jkleinman
        Stephen F Biegenzahn     efile@sfblaw.com                                      @fgllp.com;csucic@fgllp.com 
        Karl E Block     kblock@loeb.com,                                             William B 
         jvazquez@loeb.com;ladocket@loeb.com                                            Freeman     william.freeman@kattenlaw.com, 
        Dustin P Branch     branchd@ballardspahr.com,                                  nicole.jones@kattenlaw.com,ecf.lax.docket@katte
         carolod@ballardspahr.com;hubenb@ballardspahr.c                                 nlaw.com 
         om;Pollack@ballardspahr.com                                                   Eric J Fromme     efromme@tocounsel.com, 
        Michael D Breslauer     mbreslauer@swsslaw.com,                                lchapman@tocounsel.com;sschuster@tocounsel.co
         wyones@swsslaw.com;mbreslauer@ecf.courtdrive.                                  m 
         com;wyones@ecf.courtdrive.com                                                 Amir Gamliel     amir‐gamliel‐
        Chane Buck     cbuck@jonesday.com                                              9554@ecf.pacerpro.com, 
        Damarr M Butler     butler.damarr@pbgc.gov,                                    cmallahi@perkinscoie.com;DocketLA@perkinscoie.
         efile@pbgc.gov                                                                 com;JDerosier@perkinscoie.com 
        Lori A Butler     butler.lori@pbgc.gov,                                       Jeffrey K Garfinkle     jgarfinkle@buchalter.com, 
         efile@pbgc.gov                                                                 docket@buchalter.com;dcyrankowski@buchalter.c
        Howard Camhi     hcamhi@ecjlaw.com,                                            om 
         tcastelli@ecjlaw.com;amatsuoka@ecjlaw.com 
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       Lawrence B Gill     lgill@nelsonhardiman.com,                                  Jeff D Kahane     jkahane@duanemorris.com, 
        rrange@nelsonhardiman.com                                                       dmartinez@duanemorris.com 
       Paul R. Glassman     pglassman@sycr.com                                        Steven J Kahn     skahn@pszyjw.com 
       Eric D Goldberg     eric.goldberg@dlapiper.com,                                Cameo M Kaisler     salembier.cameo@pbgc.gov, 
        eric‐goldberg‐1103@ecf.pacerpro.com                                             efile@pbgc.gov 
       Marshall F                                                                     Ivan L Kallick     ikallick@manatt.com, 
        Goldberg     mgoldberg@glassgoldberg.com,                                       ihernandez@manatt.com 
        jbailey@glassgoldberg.com                                                      Ori Katz     okatz@sheppardmullin.com, 
       David Guess     dguess@bmkattorneys.com,                                        cshulman@sheppardmullin.com;ezisholtz@sheppa
        4579179420@filings.docketbird.com                                               rdmullin.com 
       Anna Gumport     agumport@sidley.com                                           Payam 
       Mary H Haas     maryhaas@dwt.com,                                               Khodadadi     pkhodadadi@mcguirewoods.com, 
        melissastrobel@dwt.com;laxdocket@dwt.com;yuni                                   dkiker@mcguirewoods.com 
        alubega@dwt.com                                                                Jane Kim     jkim@kellerbenvenutti.com 
       James A Hayes     jhayes@jamesahayesaplc.com                                   Monica Y Kim     myk@lnbrb.com, 
       Michael S Held     mheld@jw.com                                                 myk@ecf.inforuptcy.com 
       Lawrence J Hilton     lhilton@onellp.com,                                      Gary E Klausner     gek@lnbyb.com 
        lthomas@onellp.com;info@onellp.com;evescance                                   Joseph A Kohanski     jkohanski@bushgottlieb.com, 
        @onellp.com;nlichtenberger@onellp.com;rgolder                                   kprestegard@bushgottlieb.com 
        @onellp.com                                                                    Jeffrey C Krause     jkrause@gibsondunn.com, 
       Robert M Hirsh     Robert.Hirsh@arentfox.com                                    dtrujillo@gibsondunn.com;jstern@gibsondunn.co
       Florice Hoffman     fhoffman@socal.rr.com,                                      m 
        floricehoffman@gmail.com                                                       Darryl S Laddin     bkrfilings@agg.com 
       Michael Hogue     hoguem@gtlaw.com,                                            Robert S Lampl     advocate45@aol.com, 
        fernandezc@gtlaw.com;SFOLitDock@gtlaw.com                                       rlisarobinsonr@aol.com 
       Matthew B                                                                      Richard A Lapping     richard@lappinglegal.com 
        Holbrook     mholbrook@sheppardmullin.com,                                     Paul J Laurin     plaurin@btlaw.com, 
        mmanns@sheppardmullin.com                                                       slmoore@btlaw.com;jboustani@btlaw.com 
       David I Horowitz     david.horowitz@kirkland.com,                              David E Lemke     david.lemke@wallerlaw.com, 
        keith.catuara@kirkland.com;terry.ellis@kirkland.co                              chris.cronk@wallerlaw.com;Melissa.jones@wallerla
        m;elsa.banuelos@kirkland.com;ivon.granados@kirk                                 w.com;cathy.thomas@wallerlaw.com 
        land.com                                                                       Elan S Levey     elan.levey@usdoj.gov, 
       Marsha A Houston     mhouston@reedsmith.com                                     louisa.lin@usdoj.gov 
       Brian D Huben     hubenb@ballardspahr.com,                                     Tracy L 
        carolod@ballardspahr.com                                                        Mainguy     bankruptcycourtnotices@unioncounsel.
       Lawrence A                                                                      net, tmainguy@unioncounsel.net 
        Jacobson     laj@cohenandjacobson.com                                          Samuel R Maizel     samuel.maizel@dentons.com, 
       John Mark                                                                       alicia.aguilar@dentons.com;docket.general.lit.LOS
        Jennings     johnmark.jennings@kutakrock.com                                    @dentons.com;tania.moyron@dentons.com;kathry
       Monique D Jewett‐                                                               n.howard@dentons.com;joan.mack@dentons.com 
        Brewster     mjb@hopkinscarley.com,                                            Alvin Mar     alvin.mar@usdoj.gov 
        eamaro@hopkinscarley.com                                                       Craig G Margulies     Craig@MarguliesFaithlaw.com, 
       Crystal Johnson     M46380@ATT.COM                                              Victoria@MarguliesFaithlaw.com;David@Margulies
       Gregory R Jones     gjones@mwe.com,                                             FaithLaw.com;Helen@MarguliesFaithlaw.com 
        rnhunter@mwe.com                                                               Hutchison B 
       Lance N Jurich     ljurich@loeb.com,                                            Meltzer     hutchison.meltzer@doj.ca.gov, 
        karnote@loeb.com;ladocket@loeb.com                                              Alicia.Berry@doj.ca.gov 

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       Christopher Minier     becky@ringstadlaw.com,                                  John R OKeefe     jokeefe@metzlewis.com, 
        arlene@ringstadlaw.com                                                          slohr@metzlewis.com 
       John A Moe     john.moe@dentons.com,                                           Scott H Olson     solson@vedderprice.com, 
        glenda.spratt@dentons.com,derry.kalve@dentons.                                  jcano@vedderprice.com,jparker@vedderprice.com
        com,andy.jinnah@dentons.com                                                     ;scott‐olson‐
       Susan I                                                                         2161@ecf.pacerpro.com,ecfsfdocket@vedderprice.
        Montgomery     susan@simontgomerylaw.com,                                       com 
        assistant@simontgomerylaw.com;simontgomeryla                                   Aram 
        wecf.com@gmail.com;montgomerysr71631@notif                                      Ordubegian     ordubegian.aram@arentfox.com 
        y.bestcase.com                                                                 Keith C Owens     kowens@venable.com, 
       Monserrat                                                                       khoang@venable.com 
        Morales     mmorales@marguliesfaithlaw.com,                                    Paul J Pascuzzi     ppascuzzi@ffwplaw.com, 
        Victoria@marguliesfaithlaw.com;David@Margulies                                  lnlasley@ffwplaw.com 
        FaithLaw.com;Helen@marguliesfaithlaw.com                                       Lisa M Peters     lisa.peters@kutakrock.com, 
       Kevin H Morse     kevin.morse@saul.com,                                         marybeth.brukner@kutakrock.com 
        rmarcus@AttorneyMM.com;sean.williams@saul.co                                   Christopher J 
        m                                                                               Petersen     cjpetersen@blankrome.com, 
       Marianne S Mortimer     mmortimer@sycr.com,                                     gsolis@blankrome.com 
        tingman@sycr.com                                                               Mark D Plevin     mplevin@crowell.com, 
       Tania M Moyron     tania.moyron@dentons.com,                                    cromo@crowell.com 
        chris.omeara@dentons.com                                                       David M Poitras     dpoitras@wedgewood‐inc.com, 
       Alan I Nahmias     anahmias@mbnlawyers.com,                                     dpoitras@jmbm.com;dmarcus@wedgewood‐
        jdale@mbnlawyers.com                                                            inc.com;aguisinger@wedgewood‐inc.com 
       Jennifer L                                                                     Steven G. Polard     spolard@ch‐law.com, 
        Nassiri     jennifernassiri@quinnemanuel.com                                    cborrayo@ch‐law.com 
       Charles E Nelson     nelsonc@ballardspahr.com,                                 David M Powlen     david.powlen@btlaw.com, 
        wassweilerw@ballardspahr.com                                                    pgroff@btlaw.com 
       Sheila Gropper Nelson     shedoesbklaw@aol.com                                 Christopher E Prince     cprince@lesnickprince.com, 
       Mark A                                                                          jmack@lesnickprince.com;mlampton@lesnickprinc
        Neubauer     mneubauer@carltonfields.com,                                       e.com;cprince@ecf.courtdrive.com 
        mlrodriguez@carltonfields.com;smcloughlin@carlt                                Lori L 
        onfields.com;schau@carltonfields.com;NDunn@car                                  Purkey     bareham@purkeyandassociates.com 
        ltonfields.com;ecfla@carltonfields.com                                         William M Rathbone     wrathbone@grsm.com, 
       Nancy Newman     nnewman@hansonbridgett.com,                                    jmydlandevans@grsm.com 
        ajackson@hansonbridgett.com;calendarclerk@han                                  Jason M Reed     Jason.Reed@Maslon.com 
        sonbridgett.com                                                                Michael B Reynolds     mreynolds@swlaw.com, 
       Bryan L Ngo     bngo@fortislaw.com,                                             kcollins@swlaw.com 
        BNgo@bluecapitallaw.com;SPicariello@fortislaw.co                               J. Alexandra Rhim     arhim@hrhlaw.com 
        m;JNguyen@fortislaw.com;JNguyen@bluecapitalla                                  Emily P Rich     erich@unioncounsel.net, 
        w.com                                                                           bankruptcycourtnotices@unioncounsel.net 
       Melissa T Ngo     ngo.melissa@pbgc.gov,                                        Lesley A Riis     lriis@dpmclaw.com 
        efile@pbgc.gov                                                                 Debra Riley     driley@allenmatkins.com 
       Abigail V O'Brient     avobrient@mintz.com,                                    Christopher O Rivas     crivas@reedsmith.com, chris‐
        docketing@mintz.com;DEHashimoto@mintz.com;n                                     rivas‐8658@ecf.pacerpro.com 
        leali@mintz.com;ABLevin@mintz.com;GJLeon@mi                                    Julie H Rome‐Banks     julie@bindermalter.com 
        ntz.com                                                                        Mary H Rose     mrose@buchalter.com, 
                                                                                        salarcon@buchalter.com 

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       Megan A Rowe     mrowe@dsrhealthlaw.com,                                       Neal L Wolf     nwolf@hansonbridgett.com, 
        lwestoby@dsrhealthlaw.com                                                       calendarclerk@hansonbridgett.com,lchappell@han
       Nathan A Schultz     nschultz@foxrothschild.com                                 sonbridgett.com 
       William                                                                        Hatty K Yip     hatty.yip@usdoj.gov 
        Schumacher     wschumacher@jonesday.com                                        Andrew J Ziaja     aziaja@leonardcarder.com, 
       Mark A Serlin     ms@swllplaw.com,                                              sgroff@leonardcarder.com;msimons@leonardcard
        mor@swllplaw.com                                                                er.com;lbadar@leonardcarder.com 
       Seth B Shapiro     seth.shapiro@usdoj.gov                                      Rose Zimmerman     rzimmerman@dalycity.org 
       David B Shemano     dshemano@shemanolaw.com 
       Joseph Shickich     jshickich@riddellwilliams.com 
       Rosa A Shirley     rshirley@nelsonhardiman.com, 
        ksherry@nelsonhardiman.com;lgill@nelsonhardim
        an.com;jwilson@nelsonhardiman.com;rrange@nels
        onhardiman.com 
       Kyrsten Skogstad     kskogstad@calnurses.org, 
        rcraven@calnurses.org 
       Michael St James     ecf@stjames‐law.com 
       Andrew Still     astill@swlaw.com, 
        kcollins@swlaw.com 
       Jason D Strabo     jstrabo@mwe.com, 
        ahoneycutt@mwe.com 
       Sabrina L Streusand     Streusand@slollp.com 
       Ralph J Swanson     ralph.swanson@berliner.com, 
        sabina.hall@berliner.com 
       Gary F Torrell     gft@vrmlaw.com 
       United States Trustee 
        (LA)     ustpregion16.la.ecf@usdoj.gov 
       Matthew S 
        Walker     matthew.walker@pillsburylaw.com, 
        candy.kleiner@pillsburylaw.com 
       Jason Wallach     jwallach@ghplaw.com, 
        g33404@notify.cincompass.com 
       Kenneth K Wang     kenneth.wang@doj.ca.gov, 
        Jennifer.Kim@doj.ca.gov;Stacy.McKellar@doj.ca.go
        v;yesenia.caro@doj.ca.gov 
       Phillip K Wang     phillip.wang@rimonlaw.com, 
        david.kline@rimonlaw.com 
       Gerrick Warrington     gwarrington@frandzel.com, 
        sking@frandzel.com 
       Adam G Wentland     awentland@tocounsel.com, 
        lkwon@tocounsel.com 
       Latonia Williams     lwilliams@goodwin.com, 
        bankruptcy@goodwin.com 
       Michael S Winsten     mike@winsten.com 
       Jeffrey C Wisler     jwisler@connollygallagher.com, 
        dperkins@connollygallagher.com 


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